             I N T H E DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09 CR 25-3


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                    ORDER
                                       )
MICHAEL RUSSELL FREEMAN.               )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on December 31,

2009. It appearing to the court at the call of this matter on for hearing the defendant

was present with his attorney, William Andrew Jennings and the government was

present and represented through Assistant United States Attorney David Thorneloe.

From the arguments of counsel for the defendant and the arguments of the Assistant

United States Attorney and the records in this cause, the court makes the following

findings:

      Findings.     On April 7, 2009 a bill of indictment was issued charging the

defendant with conspiracy to traffic in methamphetamine, in violation of 21 U.S.C.

§ 841and 846. On December 31, 2009, the undersigned held an inquiry, pursuant to

Rule 11 of the Federal Rules of Criminal Procedure, and accepted a plea of guilty of

the defendant to that charge. At the end of the Rule 11 proceeding, this court




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presented the issue of whether or not the defendant should now be detained, pursuant

to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

            (ii) an attorney for the Government has recommended that no
            sentence of imprisonment be imposed on the person; or

            (B) the judicial officer finds by clear and convincing evidence
            that the person is not likely to flee or pose a danger to any other
            person or the community.

      From an examination of the records in this cause, it appears that the defendant

has now entered a plea of guilty on December 31, 2009 to conspiracy to violate 21

U.S.C. § 841. That crime is one of the crimes that is referenced under 18 U.S.C. §

3142(f)(1)(C). The undersigned made an inquiry of Assistant United States Attorney

David Thorneloe as to whether or not there was going to be a recommendation that

no sentence of imprisonment be imposed upon the defendant. Mr. Thorneloe advised

the court that such a recommendation could not be made in this matter. As a result,

the undersigned cannot find there is a substantial likelihood that a motion for


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acquittal or new trial will be granted or that an attorney for the government has

recommended that no sentence of imprisonment will be imposed upon the defendant.

It would thus appear, and the court is of the opinion that the court is required to apply

the factors as set forth under 18 U.S.C. § 3143(a)(2) which require the detention of

the defendant.



                                       ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby REVOKED and it is ORDERED the defendant be

detained pending further proceedings in this matter. This Order is entered without

prejudice to the defendant hereafter filing a motion, pursuant to 18 U.S.C. § 3145(b)

and (c).



                                           Signed: January 5, 2010




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